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9                            UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11

12
                                                       ) Case No.
         JOSEPH MENICHIELLO,                           )
13      individually and on behalf of all              )   8:18-cv-01550-JVS-ADS
14
        others similarly situated,                     )
        Plaintiff,                                     ) NOTICE OF SETTLEMENT AS TO
15      vs.                                            ) INDIVIDUAL CLAIMS ONLY
16      HARDWICK INVESTORS GRO                         )
        LLC d/b/a QUICK FI CAPITAL,                    )
17
        DOES 1 through 10, inclusive, an               )
18      each of them,                                  )
        Defendant.                                     )
19
                                                       )
20

21
             NOW COME THE PLAINTIFF by and through their attorneys to respectfully

22
      notify this Honorable Court that this case has settled. Plaintiff requests that this Honorable

23    Court vacate all pending hearing dates and allow sixty (60) days with which to file

24    dispositive documentation. Dispositional documents will be forthcoming. This Court
25    shall retain jurisdiction over this matter until fully resolved.
26                          Respectfully submitted this October 16, 2018.
27

28
                                                              By: /s/Adrian R. Bacon
                                                               Adrian R. Bacon, ESQ.


                                            Notice of settlement - 1
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1

2                             CERTIFICATE OF SERVICE
3
      Filed electronically on October 16, 2018, with:
4

5     United States District Court CM/ECF system
6
      Notification sent electronically on October 16, 2018, to:
7

8     To the Honorable Court, all parties and their Counsel of Record
9
      This 16th Day of October, 2018.
10

11    By: /s/ Adrian R. Bacon
        Adrian R. Bacon, ESQ.
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                                        Notice of settlement - 2
